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                                                            USDC SDNY
                                                            DOCUMENT
                                                            ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                DOC #:
SOUTHERN DISTRICT OF NEW YORK                               DATE FILED: 9/29/2020
EMILY GALLAGHER, SURAJ PATEL,
KATHERINE STABILE, JILLIAN SANTELLA,
AARON SEABRIGHT, JAMES C. MCNAMEE,
KRISTIN SAGE ROCKERMAN, MARIA
BARVA, MIRIAM LAZEWATSKY, MYLES
PETERSON, SAMANTHA PINSKY, CHRISTIAN
O’TOOLE, TESS HARKIN, CAITLIN PHUNG,
ANTONIO PONTEX-NUNEZ, individually and on
behalf of all others similarly situated,                         20 Civ. 5504 (AT)

                                                                    ORDER
                             Plaintiffs,
              -against-

NEW YORK STATE BOARD OF ELECTIONS; PETER
S. KOSINSKI, ANDREW SPANO, AND DOUGLAS
KELLNER, individually and in their official capacities as
Commissioners of the New York State Board of Elections;
TODD D. VALENTINE, ROBERT A. BREHM,
individually and in their official capacities as Co-
Executive Directors of the New York State Board of
Elections; and ANDREW CUOMO as Governor of the
State of New York,

                      Defendants.
MARIA D. KAUFER and ETHAN FELDER,

                             Plaintiff-Intervenors,
              -against-

NEW YORK STATE BOARD OF ELECTIONS; PETER
S. KOSINSKI, ANDREW SPANO, AND DOUGLAS
KELLNER, individually and in their official capacities as
Commissioners of the New York State Board of Elections;
TODD D. VALENTINE, ROBERT A. BREHM,
individually and in their official capacities as Co-
Executive Directors of the New York State Board of
Elections; and ANDREW CUOMO as Governor of the
State of New York; NEW YORK CITY BOARD OF
ELECTIONS; PATRICIA ANNE TAYLOR individually
and as President of the New York City Board of Elections;
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and MICHAEL J. RYAN, individually and as the
Executive Director of the New York City Board of
Elections,

                               Defendants.

ANALISA TORRES, District Judge:

        On September 25, 2020, State Defendants moved for leave to file a motion to dismiss,
and to consolidate briefing on that motion with the parties’ briefing on a motion to expand the
preliminary injunction. ECF No. 113. Plaintiffs oppose this request, asking that a briefing
schedule on State Defendants’ motion be set after the resolution of Plaintiffs’ pending motion to
expand the preliminary injunction. ECF No. 114.

        State Defendants’ request for a briefing schedule is DENIED. After resolution of
Plaintiffs’ motion, the Court will set a schedule for State Defendants’ motion to dismiss, if
necessary.

       The Clerk of Court is directed to terminate the motions at ECF Nos. 113 and 114.

       SO ORDERED.

Dated: September 29, 2020
       New York, New York
